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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
___________________________________
                                    )
SHABTAI SCOTT SHATSKY, et al.,      )
                                    )
                        Plaintiffs, )
                                    )  Civil Action No. 08-cv-00496-RJL
            v.                      )
                                    )
THE SYRIAN ARAB REPUBLIC, et al., )
                                    )
                        Defendants. )
___________________________________ )

                     DECLARATION OF CHANA (FRIEDMAN) EDRI

       1.      I am one of the plaintiffs in this case. My maiden name was Chana Friedman, and

my married name is now Chana Edri.

       2.      I was at the pizza shop in Karnei Shomron on February 16, 2002, when the terrorist

set off the bomb which is the basis for this case. I was 14 years old at that time. The explosion

caused me serious burns on my face, back, hand and foot. I was also hit with pieces of shrapnel all

over my body, including my face and eye, and my eardrum burst. I still have shrapnel in my eye,

and sometimes hearing buzzing sounds in my ear, until today. I had to spend a long time in the

hospital getting burn treatments, which were extremely painful, and getting plastic surgeries to try

to repair my scars. But I still have a lot of scarring. These experiences had a terrible impact on my

mental and emotional state, and I have been diagnosed with chronic PTSD and depression.

       3.      My mother, Bella Friedman, and my sister and brothers, Miriam Friedman, Ilan

Friedman, Yehiel Friedman, Zvi Friedman, are also plaintiffs in this case. What happened to me

because of the bombing has caused them a lot of emotional pain as well. In the first place, for a

couple hours after the bombing they thought I had been killed, because they knew I had been at

the pizza shop but could not find me anywhere. Because I was only 14-15 years old at that time,
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my mother had to spend most of her time with me during my many months of hospitalizations,

treatments and surgeries, and she had to basically quit work for two years after the bombing to

take care of me. My mother had to witness me suffering terrible pain (the worst was the excruci-

ating burn treatments), and that was very, very hard on her.

       4.      This was also a very difficult period for my sister and my brothers, both because

they were (and still are) very upset at what had happened to me, and because my mother was not

able to provide them with the time and attention they needed to cope with the situation (since she

needed to be with me a lot of the time). Also, because of my terrible emotional state for years after

the bombing, my relationship with my mother, sister and brothers became very bad and difficult,

and we had to go to family therapy to try to improve it (which did not work).

       5.      I have been a United States citizen my entire life, as have my mother, sister and

brothers. Attached hereto are true copies of our U.S. passports.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on February ___, 2023.

                                                      ___________________
                                                      Chana (Friedman) Edri




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